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                                 United States District Court
                                Northern District of New York

Jennifer Rena Rogers,             )          Case 5:20-cv-01262-GTS-DJS
              Plaintiff,          )
                                  )          Glenn T. Suddaby
vs.                               )          Chief Judge
                                  )
Kilolo Kijakazi,                  )          Daniel J. Stewart
Acting Commissioner of the Social )          United States Magistrate Judge
Security Administration,          )
              Defendant.          )

                                              Order

       This matter is before the Court on the parties’ stipulation to remand this case for further

administrative proceedings, pursuant to the fourth sentence of 42 U.S.C. § 405(g).

        It is hereby ORDERED that this case should be remanded for further administrative

proceedings under 42 U.S.C. § 405(g). On remand, the Appeals Council will instruct the ALJ to offer

plaintiff the opportunity for a hearing , take further action to complete the administrative record and

issue a new decision. The parties consent to the entry of judgment under Rule 58 of the Federal

Rules of Civil Procedure.




Dated: November 4, 2021
